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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
v.                              Case No. 21-cr-725 (MAU)
JARED SAMUEL KASTNER,
Defendant.
DEFENDANT KASTNER’S APPEAL OF HIS SECOND AMENDMENT RESTRICTIONS
      COMES NOW Defendant Jared Samuel Kastner, by and through

undersigned Counsel. Kastner is a defendant in a mere misdemeanor case in

which he would have full access to firearms pursuant to the Second Amendment

even if convicted. Yet Kaster’s “release” restrictions prohibit him from possessing

firearms pending his misdemeanor proceedings. Kastner asserts that his no-

firearm condition violates his fundamental rights under the Second Amendment

and the due process clause.


      Appeal of nondispositive matters Under 28 U.S.C. § 636 (b) (1) (A), any

party may appeal from a magistrate judge's order determining any motion or

matter within fourteen (14) days after service of the magistrate judge's order. On

March 16, the U.S. Magistrate denied Kastner’s motion for modification of release

conditions and upheld conditions which bar Kastner and his wife from possessing

firearms while his misdemeanor case is pending.
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      Kastner cites a fundamental change in the law in his request for relief.

Specifically, the U.S. Supreme Court’s decision in New York State Rifle & Pistol

Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), and United States v. Quiroz, No. 22-CR-

00104, 2022 WL 4352482 (W.D. Tex. Sept. 19, 2022). In Bruen, the Supreme

Court recognized that the 2nd amendment right to bear arms is an individual right

and protects every American’s right to possess firearms outside the home for self-

protection.


      In Quiroz, the U.S. Western District of Texas held that even felony pre-trial

defendants have a right to bear arms while awaiting federal criminal proceedings,

under the 2nd and 5th amendments. (The Quiroz ruling is currently on appeal

before the U.S. 5th Circuit.)


      Mr. Kastner thus appeals the Magistrate’s order in this case, and requests

that this Court dispose and remove all firearm impediments and restrictions.


RESPECTFULLY SUBMITTED,
